                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                     EASTERN DIVISION AT COLUMBUS

In re: OHIO EXECUTION
 PROTOCOL LITIGATION,

                                                       :       Case No. 2:11-cv-1016

                                                               Chief Judge Edmund A. Sargus, Jr.
                                                               Magistrate Judge Michael R. Merz

This Order relates to Plaintiff Cleveland Jackson




                               ORDER TO SHOW CAUSE


TO:      John B. Gibbons
         1370 Ontario Street
         Suite 2000 The Standard Building
         Cleveland, Ohio 44113


S I R:

         The docket in the above-captioned capital § 1983 case lists you as Lead Attorney for

Plaintiff Cleveland Jackson.

         You signed the Fourth Amended Omnibus Complaint in this case on his behalf on

September 22, 2017 (ECF No. 1252, PageID 45882). April 12, 2018, was the deadline for filing

amended and supplemental complaints on behalf of individual plaintiffs. On April 16, 2018, the

Court filed a Notice to Counsel of Record

                It is very important to the Court to ensure that there is a designated
                trial attorney (see S. D. Ohio Civ. R. 83.4) for every Plaintiff in the
                case. All counsel of record in the case are ORDERED to examine

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                  the list of omitted individual supplemental complaints set forth
                  above and advise the Court and Mr. Bohnert forthwith of the
                  status of their representation of any of those parties. All counsel are
                  again advised that a telephone scheduling conference is set for 9:30
                  A.M. on Tuesday, April 17, 2018. Counsel who have not been regularly
                  participating in these conferences are invited to participate and shall
                  call 1-888-684-8852; Access code: 1931515; Security code: 123456,
                  and wait for the Court to join the conference.

(ECF No. 1560, PageID 69431(emphasis in original)).

       You did not participate in the scheduling conference on April 17, 2018. On April 18, 2018,

the Court entered its Order to Clarify Status of Counsel (ECF No. 1564). Respecting Plaintiff

David Allen, the Order provides:

                  Plaintiff Cleveland Jackson has been represented by attorney John
                  B. Gibbons who signed the Fourth Amended Omnibus Complaint
                  on his behalf (ECF No. 1252, PageID 45882). However, Mr.
                  Gibbons did not file an individual supplemental complaint on
                  behalf of Cleveland Jackson, did not participate in the scheduling
                  conference, and has not otherwise responded to the Notice to
                  Counsel of Record.

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                  Messrs. Cocoves, Benza, Ricotta, Hilow, Gibbons, Doughten, and
                  Parker shall forthwith advise the Court of the status of their
                  representation of the clients on whose behalf they signed the Fourth
                  Amended Omnibus Complaint. Failure to respond forthwith may
                  result in sanctions.

(ECF No. 1564, PageID 69461 (emphasis added)).

       As of May 10, 2018, you have still not responded. The Court draws your attention to the

first definition of “forthwith” in Black’s Law Dictionary (10th ed.): “Immediately; without delay.”

Failure to respond within three weeks does not comport with responding forthwith as this Court

understands it.




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       You are accordingly ORDERED to show cause in writing not later than May 14, 2018,

why you should not be appropriately sanctioned for your failure to comply with the Court’s Order

of April 18, 2018.



May 10, 2018.

                                                             s/ Michael R. Merz
                                                            United States Magistrate Judge




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